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9                                  UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA
11
12   GARRETT BROCKMAN,
                                                    Case No. 2:23-cv-00841-KJM-DMC
13                   Plaintiff,
                                                    ORDER GRANTING JOINT
14                                                  STIPULATION FOR ORDER TO
           v.                                       CONTINUE PLAINTIFF'S MOTION
15
                                                    FOR ATTORNEY’S FEES, COSTS,
16   FCA US LLC; and DOES 1 through 10,             AND EXPENSES AND
17   inclusive                                      JURISDICTION
18                   Defendants.
19
20         On June 3, 2024, the parties filed a Joint Stipulation to Continue the Court’s
21   jurisdiction.
22         The court, having considered the Parties’ Joint Stipulation and finding good cause,
23   hereby GRANTS the Joint Stipulation and ORDERS as follows:
24         1. The court continues the filing deadline of Plaintiff’s Motion for Attorneys’ Fees,
25              Costs, and Expenses from June 5, 2024, to August 5, 2024. The court notes the
26              parties request two different extension deadlines in the Joint Stipulation––first
27              they request a deadline of June 19, 2024, and then they request a deadline of
28              August 5, 2024. See ECF No. 19 at 2. Given the parties’ representations



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1             regarding their continued meet and confer efforts to resolve this issue without
2             burdening the court, the court grants the request for the later deadline of
3             August 5, 2024, while advising the parties that further extension requests are in
4             no way assured without detailed explanations of good cause; and
5          2. The court retains jurisdiction over the action until Plaintiff’s fees, costs, and
6             expenses are determined and payment satisfied.
7          IT IS SO ORDERED.
8    Dated: June 6, 2024.
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